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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                        )   NO. CR 15-518 MMC
                                                      )
14           Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER RE
                                                      )   PAYMENT OF LAWSUIT SETTLEMENT
15      v.                                            )   PROCEEDS INTO COURT REGISTRY BEFORE
                                                      )   SENTENCING
16   ROBERT JACOBSEN,                                 )
                                                      )
17           Defendant.                               )
                                                      )
18

19           The United States and Defendant Robert Jacobsen, by and through their respective counsel,
20 hereby stipulate and agree as follows:

21           1.      In the Plea Agreement entered on July 19, 2017, defendant agreed to pay full restitution
22 for all losses caused by all the schemes or offenses with which he was charged in this case and agreed to

23 pay restitution in an amount, if any, to be set by the Court at the time of sentencing.

24           2.      On August 9, 2017, defendant’s prior counsel notified the United States that Defendant
25 would be receiving funds from the settlement of a private lawsuit, Jacobsen et al., v. Aurora Loan

26 Services, LLC, Case No. 12-cv-00135-RS (“Jacobsen v. Aurora”) in which defendant is a plaintiff. On

27 November 7, 2017, defendant’s attorney in Jacoben v. Aurora served a copy of a “Motion to Approve

28 Settlement” that he filed in that case on the United States.

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 1            3.   Defendant agrees that the Court may order defendant to deposit all proceeds from the

 2 settlement of Jacobsen v. Aurora into the Court’s Registry.

 3            4.   Defendant agrees that the Court may order that the proceeds from the settlement of

 4 Jacobsen v. Aurora be held in the Court’s Registry until entry of final judgment in Criminal Case No.

 5 15-518-MC or until further order of the Court.

 6            5.   The parties have agreed that the funds received by defendant through settlement of a

 7 private lawsuit and held by the Clerk of the United States District Court in advance of sentencing will be

 8 applied toward any restitution ordered by the Court. The parties further agree that if no restitution is

 9 ordered, the funds held in the registry may be returned to the defendant upon entry of Final Judgment in

10 the above criminal case.

11            6.   The parties therefore jointly request that the Court issue this Proposed Order ordering

12 defendant to deposit any proceeds he receives or to which he is entitled from the settlement of Jacobsen

13 v. Aurora to the Court’s Registry and authorizing the Clerk to accept defendant’s restitution payments.

14            IT IS SO STIPULATED.

15

16 Dated:                                                        s/ Kenneth H. Wine
                                                                 KENNETH H. WINE
17                                                               Attorney for Defendant

18

19
                                                                 BRIAN J. STRETCH
20                                                               United States Attorney

21
     Dated:                                                      s/ Benjamin Kingsley
22                                                               BENJAMIN KINGSLEY
                                                                 Assistant United States Attorney
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 1                                           [PROPOSED] ORDER

 2          The Court, having considered the Stipulation Regarding Payment of Lawsuit Settlement

 3 Proceeds, which arises from the plea agreement entered in this case, the Stipulation having been

 4 executed by the United States and defendant’s counsel, and good cause appearing, hereby ORDERS as

 5 follows:

 6          1.      The Stipulation is approved;

 7          2.      Defendant is ordered to deposit any proceeds he receives or to which he is entitled from

 8 the settlement of Jacobsen v. Aurora to the Court’s Registry

 9          3.      The Clerk of Court for the Northern District of California shall accept from the defendant

10 checks or money orders made payable to “Clerk, United States District Court,” and to hold such funds in

11 the Clerk’s Registry, including interest earned thereon, for crediting towards the defendant’s restitution

12 obligation and pending the further order of this Court.

13          IT IS SO ORDERED.

14

15          Dated: November 28, 2017

16                                                       MA
                                                         MAXINE
                                                          AXINE M. CHESNEY
                                                         United States District Judge
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     STIPULATION AND PROPOSED ORDER
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